   Q!


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                              U M TED STATES DISTRIC T CO URT
                              SO U TH ERN DISTW CT OF FLO RIDA

                                             CA SE N O . 22-cv-81294-AMC


   In the M atterofthe Search of

   M ar-a-Lago
   1100 S.Ocean Blvd.
   Palm Beach,FL 33480
                                             /

             M OTIO N FOR JUDICIA L O W RSIGH T AND AD DITION AL RELIEF

           PresidentDonaldJ.TntmptEtM ovm1t'D,throughhistmdersignedcotmsel,respectfullyfiles
   thisMotionForJudicialOversightAndAdditionalRelief,whichseeksan orderthat:(a)appoints
    aSpecialM aster;(b)enjoinsfurtherreview ofseizedmatekialsbytheGovemmentuntilaSpecial
   M asterisappointed;(c)requirestheGovemmenttoprovideamoredetailedReceiptforProperty;
    and (d)requirestheGovemmenttorettu'
                                      n any item seizedthatwasnotwithin thescopeofthe
    Search W arrant,and statesasfollows:

    1.    .IN TR ODU CTIO N

           Politicscnnnotbe allowed to impactthe administration ofjustice.PresidentDonald J.
    Tnlm p is the clear frontrunner in the 2024 Republican Presidential Prim ary and in the 2024
    G eneralElection,should he decide to 1-tm .1Beyond that, his endorsem entin the 2022 m id-term


    1Forinstance, a June 2022 nationwide pollof Republican prim my voters fotm d that84 percent
    w ould supportD onald Trum p if he ran for President in 2024.M cLaughlin & Assoc.,National
    SurveyResults,at26tltme24,2022),hlpsr//mclaul linonline.coe zozz/o6/z4/ma-poll-naéoni-
    month1y-june-2022/.PresidentTrumpleadsthenextpotentialRepublicancandidateby44points,
    id.at27,and leads the inctlmbentPresidentby 5 pointsif a generalelection w ere held today.1d.
    at30.Otherpollsvalidatethesem lmbers.See,e.g.,lowansforTax Relief,GT o11:Iow nnqlike Gov.
    Reynolds as Biden's jupport Slides''(Ju1y 2122022),hûpsr//tr reliefaor#poll-iowrs-like-
    govemor-reynolds-%-bidens-suppol-slides/(PresldentTrumpleadsBiden by 11pointsl:2'TIPP
                                                           .
    Insights,'IGolden TIPP Poll:President Trum p, a form ldable candidate in 2023 Republlcation
    primaries''tlune 24,2022),hûps://ameHcre rOews.coe épp-president-tmmp-a-forH dable-
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   elections has been decisive for Republican candidates. On August 8, 2022,in a shockingly
                                            .



   aggressivem ove- and with no understanding ofthe distressthatitwotlld causem ostAm ericans-

   roughly two dozen SpecialAgentsoftheFederalBureau ofInvestigation (&TBI'),directed by
   attom eys ofthe'U .S.DepartmentofJusticettheRGovernmenf),raidedthehomeofPresident

   D onald J.Tnzm p.According to the Governm ent,the agents seized domlm ents,privileged and/or

   potentially privileged m aterials,and otheritem s- including photos,handwritten notes,and even

   PresidentTrum p'spassportsz- thatw ereoutsidethelaw fulreach ofan already overbroad warrant.

   President Trum p,like a11 ciézens,is protected by the Fotu'
                                                             th Am endm entto the United States
                                        k
   Constittztion.Property seized in violation ofhisconstitutionalrightsm ustberetum ed forthwith.

          Law enforcementis a shield thatprotects Am ericatls.Itcnnnotbe lzsed as a weapon for

   politicalpurposes.n erefore,weseekjudicialassistanceintheaftermathofanunprecedentedand
   lmnecessaly raid on PresidentTnlm p'shom e atM ar-a-Lago,in Palm Beach,Florida.

          From the firstm oméntthatthe Governmentinform ed M ovant,through counsel,thata
   search w as tmderway,he dem anded t'
                                      ransparency.M ovant asked the G ovem m entthe questions

   thatany Am erican citizen would ask underthe circzlm stances,nam ely:

          * W hy raid m y hom ew1111aplatoon offederalagentswhen 1havevoltmtarily cooperated
            n4t11yourevery request?                            '

          * W hatare you trying to hide from the public- given thatyou requested thatltum off
            a11hom e security cam eras,and even refused to allow m y attom eys to observe what
            youragents were doing?

          * W hy haveyou refused to tellm e whatyou took from my hom e?



   cr didate-in-zoz4-republicr -pHmo es/(PresidentTrump leadsthe2024 Republican primmy
   fieldby439M.                         >
   2On A ugustl5, 2022,oneweek aftertheitenlswere seized,theGovem mentacu owledged that
   the seized m aterialsincluded passportsbelonging to M ovant.Recognizing thatthe passportswere
   notvalidly seized,the Governm entnotifed counselforM ovantso thatthey could be retrieved.

                                                 2
'
r                                                         ,


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                                                              X




       As setforth in detail below,the Government has declined to provide even the mostbaqic
       inform ation aboutwhatw astaken,orwhy.H ow ever,the scantillform ation the Govem m enthaq

       provided- a vaguely-w orded Receipt For Property and the warrant itself- raises signiûcant

       Fourth Am endm entquestions aboutthistmprecedented and lmnecessary raid.

              For instance,the Govem m enthms inform ed counselforPresidentTrum p thatprivileged

       and/or potentially plivileged docllm ents w ere nm ong the item s taken from his hom e.But the

       G ovem m enthasrefused to provideany inform ation regarding thenature ofthese domlm ents.'l'he

       Suprem e Courthas held thatdocllm entsretlecting com m tmications betw een a Presidentmzd top

       advisors are presllmptively privileged.United States v.Ntxon,418 U.S.683,782 (1974).
       Protecting the integrity of these sdocllm ents is im portant not only to M ovant but also to the

       institution ofthe Presidency.

              Significantly,the Govem m enthœsrefused to provide PresidentTnlmp with any reason for
                                             ,                                                         1


       the unprecedented,generalsem'ch ofhis hom e.To date,the Govem m enthas failed to legitim ize

       itshistoricdecision to raid the home ofaPresidentwho had been fully cooperative.Instead,faced

       w ith public backlmsh,the Attom ey G eneralhastaken the llnheard-ofstep ofnn
                                                                                  'notm cing atapress
       conference that he w is w illing to release portions of a sealed sem'ch w arrant application.

       Govem m ent leaks to favored m edia outlets have provided ever-changing, atld inaccurate,

       Ijustifications''forthepoliticizedconductoftheFBIandDepartmentofJusticeC;DOJ'').These
       tmsupported Kjustifications''by anonymous sourceshintata breakdown in commtmications
       between PresidentTrum p'srepresentativesand theGovem m ent,orthatthere developed a need to

       obtain a search w arrant.The actual chronology of events clearly establishes thatthere w as no

       I'exigency''foraforceful
                              ,
                                raidandthereisnobasisforkeepinginfonration ibouttheraidfrom the

       public.M ovantthereforerequeststhattheCourtordertheGovem menttoprovidetheinformation



                                                      3
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       soughtby thism otion,and to takethe otherm emsuressetforth in detailbelow,in orderto protect

       V ovant'sconstitutionalrightsundertheFourth Amendment.
       II.    BA CK GR OUN D

              A.     PresidentDonald J.Trum p'sV oluntarv A gslstance

              On January 20,2021,PresidentTnlm p and hisfnm ily leftthe W lliteH ouse.They m oved

       back to theirhom e atM ar-a-Lago in Palm Beach,Florida.M ar-a-taago is a historic landm ark,a

       m ansion with 58 bedroonls and 33 bathroom s on 17 acres of land extending from the Atlantic

       Ocean tothelntracoastalW aterway- hencethenam e,which m eansttsea-to-lake.''Consistentwith

       every m odem Presidentialtransition,staf conducted the m ove on a condensed tim efram e.'
                                                                                               Ihat

       m ove,like hom e m oves tmdertaken by m ostAm ericans,involved boxes.Itwis done during the

       day,with the boxesin fullviem 3
                                                  .                                        /
              After President Trump and his fnmlly settled back into their hom e, em ployees at the

       NationalArchivesandRecordsAdministTation CGNARY'Iinquiredastowhetherany docllments
       w ereinadvertently transferred by the m oversto M ar-a-Lago.In January 2022,M ovantvoluntarily

       asked NAllA movers to come to M ar-a-Lago to receive 15 boxes of docllments CG15 NM tA
       Boxes'')thathad been broughtby nioversto M ar-a-Lago,so thatthey could be transferred to
       N AltA headquartersin W ashington,D C.

              On February 8,2022,N AltA m adethe following public statem ent:

              Throughoutthe coutse ofthe lastyear,N AltA obtained the cooperation ofTrum p
              representativesto locate Presidentialrecords thathad notbeen transferred to the
I             N ationalArchives atthe end ofthe Trum p adm inistration.W hen a representative
I             inform ed NA ltA in D ecem ber2021 thatthey had located som e recordsfN AltA
              arranged forthem to be securely transported to W % hington.N AltA officialsdid
              notvisitor'kaid''theM ar-a-Lagoproperty.

          A photograph typical of the m ove of boxes accompanies the article fotm d at
       ho s:.
            //> w.npr.org/2022/02/10/1079832l65/con<essionZ-pK el-G ll-inveségate-M ps-
       rem ovi-of-wh te-house-docllm ents.

                                                      4
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       NationalArchives,RpressStatem entsin Re
                                             'sponsetoM ediaQueriesAboutPresidendalRecords''
       (Feb. .8, 2022), available at he s://w w.rc/ves.gov/press/press-rele%es/zozz/nrzz-ool.
       Som etim e thereafter,NA RA em ployees involved the W hite H otlse and DOJ in the m atterofthe

       voltmtarily retum ed 15 N AltA Boxes. M ovant wms contacted because the 15 NAltA Boxes

:      contained docum ents from his Adm inistration that were protected by executive privilege,and

       M ovant's cotmselcom m unicated w ith representatives ofthe W hite H ouse,the DOJ,and N AltA

       regarding these m atters.

              OnM ay 11,2022,M ovantvoluntarilyacceptedserviceofagrandjurysubpoenaaddressed
       to the custodian of w cords for the Office of Donald J. Trum p, seeking domlm ents bearing
                                                                                  NJ
       cl% sification m arkings. President Tnlm p determined that a search for docllm ents bearing

       classification m arkings should be conducted- even if the m arked docllm ents had been de-

       cl%sified- and hisstaffconducted adiligentsearch ofthe boxesthathad been moved from the
       W hite H ouse to Florida.On Jtme'
                                       2,2022,PresidentTrump,through counsel,invited the FB1to

       com eto M ar-a-Lago to retrieve responsive docllm ents.

              The next day,on Jtm e 3,2022,Jay Bratt,Chief of the Counterintelligence and Export

       ControlSection in the DOJ'sN ational Seèurity Division,cam e to M ar-a-Lago,accom panied by
       three FBlagents.PresidentTrtm lp greeted them in the dining room at M ar-a-Lago.There w ere

       two otherattendees:theperson designated aqthe custodian ofrecordsforthe Office ofDonald J.

       Tnlm p,and cotm selforPresidentTzump.Before leavihg the group,PresidentTrum p'slastwords
                                                             I


       toMr.BrattandtheFBlagentswereasfollows:GçW hateveryouneedpjtlst1etusknom ''
              Responsive documents were jrovided to the FBI agents.M r.Brattasked to inspect a
       storageroom .CotmselforPresidentTnzm p advised thegroup thatPresidentTrum phad authorized

       him to take the group to that room .The group proceeded to the storage room ,escorted by two



                                                      5
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   Secret Selwice agents.The storage room contained boxes, m any containing the clothing and

   personalitem sofPresidentTntmp and the FirstLady.W hen theirinspection w m com pleted,the

   group leftthe area.

          Once baék in the dining room ,one ofthe FBIagents said,ff-l-
                                                                     hnnlcyou.Y ou did notneed
   to show usthe storage room ,butwe appreciate it.N ow ita1lm akessense.''Cotm selforPresident

   Trum p then closed the interaction and advised the G overnm entoffcials'thatthey should contact

   him with any furtherneedson the m atter.

          On June 8,2022,M r.Brattw roteto cotm selforPresidentTnzmp.H isletterrequested,in

   pertinentpart,thatthe storage room be secured.ltlresponse,PresidentTlum p directed hisstnF to

   place asecond lock on the doorto the storageroom ,and onew asadded.

          In the days that followed,President '
                                              fnlmp continued to mssist the Government.For
   instance, m em bers of his personal and household staff were m ade available for voltmtary
   intelwiew s by the FBI.On June 22,2022,the Governm entsent a subpoena to the Custodian of

   Records forthe Tnlmp Organization seeking footage from surveillance cam eras atM ar-a-Lago.

   AtPresidentTrum p'sdirection,serdceofthatsubpoenaw asvoltmtarily accepted,and responsive

   video footage w as provided to the Govem m ent.

          B.     A pplieation For Search W arrant

          D espite the voluntary assistr ce provided by PresidentTrump,the G ovem m enttook the
   unprecedented step of requesting a search warrant for his hom e.'
                                                                   lhe Governm ent sought an

    expansiveatld intrusivesearch ofPresidentTrum p'som ce,a11storageroom s,and fKallotherroonls

    orareaswiththepremisesusedoravailabletotheusedby EpresidentTnzmp)andhisstnF andin
   whichboxesordocumentscouldbestored.''SearchW azrant,AttachmentA (Case9:22-1%-08332-
   BER,ECF 17at3of7).R'heGovernmentalsosoughtan expansivedeûnitionofpropertythatit



                                                 6
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   could seize,wllich included notonly responsive docum ents and associated boxes,butalso iGany

   othercontainers/boxes thatare collectively stored orfound togetherwith theaforementioned
   documentsandcontainers/boxes.''Id.at*
                                       4 of74(emphasisadded).Essentially,theGovemment
   secured courtauthorization to seize boxesthatjusthappened to be located nearpotentially
   responsiv: m aterials.

          The Search W arrantw assigned at12:12 p.m .on Friday,August5,2022.Search W an'
                                                                                       ant

   (Case9:22-mj-08332-BER,ECF 17at2of71.'
                                        l'
                                         heGovernmentwmsgiven 14daystoexecutethe
   Search W arrant.1d.

          C.     TheU nprecedented Search O fPresidentTrum p'sH om e

          Belying any actualurgency,the Governm entw aitedthree days- tmtilM onday,Augttst8,

   2022..-40 executethe Search W arrant.Early in the m om ing on August8,2022,agroup ofroughly

   two dozen FBIagents gathered on theprem ises atM ar-a-Lago canying boxesand otheritem s.At

   approximately 9:10a.m.,M r.BratttelephonedcotmselforPresidentTrtunp arldinformedhim that

   a group ofFBlagents was atM ar-a-Lago to execute a search warrant.H eated discussion ensued
   asto why the Governm entdid notm ake avoluntary requestto furtherexplorethe premises,given

   the expansive assistance thatPresidentTrump had provided to thatpoint.



   4TheAfidavitrem ainsunderseal.On Auglzst15,2022,PresidentDonald J.Trump issued apublic
   statem enton this,which readsms follows:

          ThereisnowaytojustifytheurmnnouncedRAID ofMar-a-Lago,thehomeofthe
          45th PresidentoftheUnited States(whogotmorevotes,by far,than any sitting
          PresidentinthehistoryofourCotmtryll,byaverylargemlmberofgtm totingFBl
          Agents,and the Departm entofGiltstice''but,in theinterestofTRAN SPA REN CY ,
          lcallfortheimmediaterelemseofthe cômpletely Unredacted Affidavitpertaining
          to this honible and shocking BREAIG IN. Also,the Judge on this case shotlld
          rCCUSCj     '

   ho s://% 1socii.co* users/re2DonidT= p/statœ es/108830529259405266 (last visited on
   Augtlstl9,2022).
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              M r.Brattthen m ade several requests.The firstrequest m ade by M r.Brattwas that a11

       closed-ciicuittelevisionIECCTV''Icn'
                                          mùrasatMar-a-LagobetumedofEPursllnnttoMar-a-Lago
       policy,and in the absence ofany courtorderdirecting such a m easure,this requestwasdeclined.

       M r.Brattalso requested thenam es ofany atlorneyjwho mightarrive atM ar-a-Lago on behalfof

       PresidentTnlm p.ln turn,counselforPresidentTrump requested acopy oftheSearch W arrantand

       Am davitin Support,and asked to be provided with alistofanything seized,oncethe search was
       com pleted.M r.Brattdeclined to providethe Search W arrantand Affidavit,stating thatafterthe

       FBIagentsfinished theirsearch,PresidentTnlm p w ould be provided w ith a copy ofthe Search
       W arrantand a ReceiptforProperty,'butnotthe Affidavit.

              Am ong other actions taken aqer being notified of this tmprecedented event,cotmselfor

       PresidentTnlm p contacted three attom eysin the generalarew who agreed to go to M ar-a-laago.

       Oncethey arrived,they requested the ability to enterthem ansion in orderto obselwewhattheFBl

       agentsw eredoing,w hich theGovem m entdeclinèd to permit.

              M terapproxim ately ninehours,theFBlconcluded its search.An FBIagentprovided one

       ofthe attom eyswho had been w aitiilg outside for nearly the fullnine hoursw ith a copy ofthe

       Search W arrant.The FBl also provided a three-page Receiptfor Property.ReceiptforProperty

       lcase9:22-mj-08332-8E11,ECF 17 at5-7 of7).Thatlistprovided almostno information that
I      W ould allow a readerto tmderstand whatw asseized orthepreciselocation ofthe item s.

              On A ugust11,2022,cotm selforPresidentTrtzmp spoke with M r.Brattby telephone.The

       firstitem ofdiscussion wasam essagefrom presidentTnlmp to Attorpey G eneralM errick Garland.

       Them essagew asasfollows:

              PresidentTrum p wantstheAttom ey Generaltoknow thathehasbeen hearing from
              Peop1e a11overthe countly aboutthe raid.Ifthere w as one w ord to'describe their
              m ood,itisIGangry.''The heatisbuilding up.The pressureisbuilding up.W hatever
              Icandototaketheheatdown,tobringthepressuredown,justletusknow.


                                                     8
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   In addition,cotmselforPresidentTrampaskedM r.Bratt(1)toprovideacopy ofth8Affdavit;
   (2)toagreetotheappointmentofaSpecialMastertoprotecttheintegrityofprivilegeddocllments;
   (3)toprovideadetailedlistofexactlywhatwastakenfrom PresidentTrump'shome,andwhere
   ithad been located in themnnsion;and (4)to allow cotmselto PresidentTrtzmptheability to
   inspectwhathad been seized.M r.Brattdeclined these fourrequests.To endthe call,cotmselfor

   PresidentTrum p requested thatal1on thecallkeep the linesofcom m tmication open.

          D.     Attornev GeneralM errick G arland'sPressConference

          Jtksthotlrs afterthis August l1,2022,telephone call,Attom ey GeneralM errick G arland

   tooktheunusualstep ofholding apressconference to deliverrem arksregardingthesearch ofM ar-

   a-lvago and theG overnm ent'sm otion to unsealthe Search W arrantand ReceiptforPropert
                                                                                        (
                                                                                         y.M r.

   G arland m adeno m ention ofPresidentTrnm p'sclearand unequivocalm essageto him .In fact,the

   G ovem m ent m ade no response at a11 to President Trum p's invitation to help reduce public

   constem ation with the Govem m entaftertheraid.Instead,M r.Garland stated,in pertinentpart:

          JustnoW,the Justice Depnrtm enthas filed a m otion in the Southem District of
          Florida to tm seala search warrmq and property receiptrelating to a court-approved
          searchthattheFBIconduc/ed earlierthisweek.
          Thatsearch was ofprem iseslocated in Florida belonging to the form erPresident.
          The D epartm entdid notm ake any public statem enlson the day ofthe search.The
          form erPresidentpublicly confrm ed thesearch thatevening,asishisright.

          Copies ofboth the warrantand the FBIproperty receiptw ere provided on the day
          ofthe search to the form erPresident's cotmsel,who w mqon site during the search.

          The search warrantw as authorized by a federalcourtupon the required finding of
          probable cause...

   SeeU.S.Departmer!tofJustice,cGAttorneyGeneralM enickGarlandDeliversRemarks''(Aug.11,
   2022), ho s://ww .
                    jutice.gov/opispeecYaûomey-generi-meM ck-grlrd-delivers-remrks.
   H ethen stated,regarding the issuanceand execution ofthe Search W arrant:



                                                  9
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           First,lpersonally approved the decision to seek asearch w arrantin thism atter.

           Second,theD epartm entdoesnottakesuch a decision lightly.W here possible,itis
           standard practice to seek less intnsive m eans as an altem ativeto a search,and to
           narrowly scopeany search thatisundertaken.

    1d.
           Thispublic statem entisdeeply troubling,given thatPresidentD onald J.Trum p isthe clear

    frontnmnerin the2024 Republican PresidentialPrim ary and in the 2024 G eneralElection,should

    he decideto nm .The statem entclearly suggeststhatthe decision to raid M ar-a-Lago,a m ere 90

    days before the 2022 midterm elections,involved politicalcalculations aim ed atdim inishing the

    leading voice in the Republican party,PresidentTnlm p.A11facts laid outherein show thatthere

    wascompletecooperation betweenPresidentTrllmp,histeam,mldtheapprojriateagencies.Mr.
                                                                                             (

    G arland'srem arksstray from long-standing DOJpolicy.sThe decision by theAttom ey Generalto

    conductahastily preparedpressconferenceto nnnotm cehisintention to rele% etheSearch W arrant

    and ReceiptForProperty w asan ill-founded reaction to thepublic outcry thatfollow ed theraid on

    PresidentTrum p'shom e.

    111.   A RG UM EN T

           A.     The Extraordinarily Unusual Conduct Of The DOJ Raises Fundamental
                  Fourth Am endm entConcerns.

           TheFourth Am endm entto the Constitution oftheUnited Statesprovidesasfollows:

                  The rightof the people to be secure in theirpersons,houses,papers,and
                  eFects,againstunreœsonable searches and seizures,shallnotbe violated,
                  and no W arrantsshallissue,butupon probable cause,supported by O ath or
                  affirm ntion, and partictllarly describing the place to be searched,and the
                  personsorthingsto be seized.

    U .S.Const.nm end.lV .



    5seeU .s.Dep'tofJust.
                        ,JusticeM anualj1-7.400CEDOJgenerallywillnotcon;rm theexistence
    oforotherwisecommentaboutongoinginvestigations.').
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           Prior t: any indictm ent, and the availability of variotks grounds of suppression from

    evidence at trial, the m echanism that protects the rights of the individual from unreasonable

    searches arld seizures is FederalRule of CrilninalProcedure 4l(g).The rule specifically
    contem plates protecting the rights of citizens who have been ''aggrieved by an lmlawfulsearch

    and seizure of property.''Even asthe Governm enthas dug in againsttransparency in the instant

    m atter,fghting releaseofthe Am davitand claim ing aredacted version w ould be Gtwortllless''due

    to theneed to hide the actualsubstance ofthe swom statem ent,there m'e significantred flagsthat

    implicatePresidentTzump'sFotu'th Amendmentrightsandcry outforjudicialintervention by
    w ay ofSpecialM asterm onitoring and discovely assistance.

                                 The W arrantls Faciallv O verbroad

           Pennitting agentsto seizesboxesofdocdlm entsm erely becausethey arephysically fGfotmd

    together''w1t11 boxes of other item s purportedly w ithin the scope of the warrant is clearly

    overbroad. A s instructed by the Supreme Court and the Eleventh Circuit, l
                                                                             Gltlhe Fourth
    A m endm entrequires that Gthose searches deem ed necessaly shotlld be as lim ited as possible.'''

    United Statesv.Blake,868F.3d960,973(11th Cir.2017)(citingCoolidgev.New Hampshirc,
    403U.S.443,467(1971:.'Grf'
                             hefspecificevil'thatlimitationtargetsEisnotthatofintrusionper
    se,butofageneral,exploratory nlmmaging in aperson'sbelongings.7''Id.(citing Coolidge,403
    U.S.at467).Indeed,Eigtlhattypeofrummaging waspermitted during thecolonialeraby the
    G
    generalwarrantr'''which theFourth Am endm entisspecifically intended to preclude.1d.;see also

    Paytonv.New York,445U.S.573,583(1980)(ç<1tisfmniliarhistorythatindiscriminatesearches
    and seizures conducted tmderthe authority of çgeneralwarrants'were the im m ediate evilsthat

    motivatedtheframingandadoption oftheFourthAmendment').
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           M oreover,boxes ofpersonaldocllm ents,photographs,and item s such as clothing are by

    desnition not iGcontraband''and thus m ay notbe lawfully seized.In fact,the Search W arratlt's

    broad scope was in violation ofthe Fotzrth Am endm ent's particularity requirem entand thtls the

    w arrant perm itted a Gigeneral searchr''prohibited ms tmconstittztional since red-coated doldiers

    createdtheneed forthe requirem entin thçfirstplace.

                           The G overnm entSoughtTo Im properly Evade
                       Lim itationsO n Enforcine The PresidentialRecordsA ct

           The investigation regarding PresidentTrum p's retum ofthe 15 N AlkA Boxes involved a

    NA llA E:referral'' to the DOJ based on questions relating to docum ents falling w ithin the

    PresidentialRecordsActCTRA').ButEV ePRA accordsthePresidentvirtuallycompletecontrol
    overhisrecordsduringhisterm ofoîfice.n'Armstrongv.Bush,924F.2d282,290(D.C.Cir.1991).
    Thereisnocriminalenforcementmechanism orpenalty inthePRA.See44U.S.C.A.jj2201-
    2209.DidDOJ'sNationalSecurity Division(GN SD'')recognizethatdeficiencypandthendecide
    to re-categorizethiscase asrelating to nationalsecurity m aterials- sim ply to m antlfacture a basis

    to seek a search w arrmlt? Relatedly,and im portantly,did N SD and the FBI mischaracterize the

    typesotdocllmentsitsoughttoseizeasan efforttoavoidthelack ofenforcementmechanism in
    thePRA?

                      The G overnm ent'sRecklessPursuitOfA Search W arrant
          Im plicatesW ell-Established BasesFor Suppression Under The Fourth Am endm ent

           Undercontrolling Suprem e Courtprecedent,a search w arrantviolates a person's Fourth
                                                                              J
    Am endm entrights and ij invalid ifthe afûanteitherm akes m aterialnusstatem ents or m akes a
                                               '..



    materialomission in the amdavit.Franks v.Delaware,438 U.S.154 (1978).Did the D0J
    m ischaracterize or om it from its Am davitthe true extent ofthe President's cooperation? Press

    reportsby anonym otls Govem mentsourcesraisethis queséon.



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           In addition,did the am antto thé warrantfairly disclose any pretextualorRdual''purpose

    atwork in obtaining the warrant? For exnm ple,the ReceiptforProperty largely fails to identify

    seized docllm entswith particularity,butitdoesreferto the seizure ofan item label
                                                                                    ,
                                                                                     led GlExecutive

    G rantofClem ency re:RogerJason Stone,Jr.''A sidefrom dem onstratingthatthiswasan tmlawft
                                                              -                             tl
    generalsearch,italso suggeststhatD OJ sim ply w anted the cam el'snose tm der the tentso they

    could nzmm ageforeitherpolitically helpfuldocum entsorsupportothereffortstothw artPresident

    Tnlm p from running again,such astheJanuary 6 investigation.Interestingly,in the Govem m ent's

    response to m otions to tm seal the Search W arrant Afûdavit, the Governm ent claim s public

    exposure of the Affdavit would çjeopardize'' this investigation and Gcother high-prosle
    investigations.''lcase9:22-mj-08332-BER,ECF59at8(emphasisaddedll.Thephr%ingsuggests
    that DOJ has other interests at work thm1 sim ply collecting docum ents w 1t1: classification

    m arkings.

           Finally,the elem ents of nationalsecurity statutes such msthose referenced by the Search

    W arrant,as wellasthe adm inistrative process ofclœssificalion and declassification,are com plex

    m atters.D id the afllant fully disclose the strictures ofthese stam tes as w ell as the President's

    overarching authority to declassify docum ents? Did the nfzant disclose that there are public

    statem ents by those w1t11 knowledge indicating the docum ents soughtin this search had been

    decl% sifed? Thege are the typesofm aterialolnissionsthatim plicateFranks and could establish
    a clearviolation ofPresidentTrum p'sFourth Am endm entrights.

              n e Governm entH asLone Trea.ted Presidento onald J.Trum p r nrairlv

           The FBI and DOJ have dem onstrated a willingnessto treat PresidentTrum p differently

    than .any other citizen.Tw o years of noisy 'A ussian collusion''investigations led to a Special

    Cotm sel's finding of bia ed FBl agents and officials; stories of FBI agents engaging in



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    çEinform ation laundeling,''where a fired inform ant continued to feed the FBI false inform ation

    through a DOJ officialto investigate the President; and even a!l FBl General Counsel lawyer

    falsifyinédocumentstoiupportaForei> IntelligenceSurveillanceActwarrant'spenetrationinto
    then-cr didateTnzmp'sirmercircle.An AssistantDirectorattheFB1wasreferredto prosecution

    forlying repeatedly abouttheTrump probe,andtextexchangesbetweenthelead agent(Peter
    Strzok)andhisparamolzr(LisaPage)reflecttheircompletedisdain and biasagainstPresident
    Trtzm p and his supporters,while they were entrusted w ith probing the farcicalRussian collusion

    Cj.
      mm
       * S.

           W ithout further inform ation from the Govem m ent, President Tnlm p currently has no

    ability to assesswhetherany FBIagentsinvolved in theRussiadefnm ation m atterarepnrticipàting

    with N SD in the currentsituation.Historically,courts tend to give significant deference to 1aw

    enforcem entrepresentativeswho weigh in againstnon-disclosureofpotentially sensitivem aterials

    because of EEinvestigative''needs or witness safety.But,in light of recent FBl behavior when

    President Trum p is a part of its aim , this Courtshould feel obliged to dem and candor and

    transparency,andnotjust''tnlstus''assertionsfrom DOJ.TheappointmentofaSpecialM aster
              !

    with a fair-m inded approach to providing defense cotm selwith inform ation needed to supportany

    Rule41(g)filingisanappropriateuseofthisCourt'sauthorityonsuchsensitivematters.
           B.      This Court Should A ppoint A Special M aster To Protect M ovant's
                   ConstitvtgpnalRiehts.
                           -




           M ovantrequeststhatthisCourtappointa SpecialM asterpursuantto ltule53(a)(l)(B)of
    theFederalRùlesofcivilProcedureaizdthiscourt'sinherentequitablepowersandauthority.This
    step- which the Govem m ent itself has requested in cases involving the seizure of privileged

    and/or potentially privileged m aterials- is needed to preserve the sanctity of executive

    com mtmicationsand otherprivileged materials.Furtherm ore,M ovantrequeststhatthisCourtissue


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    aprotectiveorderenjoiningtheUnitedStatesfrom anyfurtherreview oftheitemqseizedtmtilthis
    CourtcanruleonthepresentMotion.SeeFed.R.Civ.P.26(b)(5)& (c)(1),
                                                                  'S.D.Fla.L.R.26.l(g).
    In addition,M ovant requests that this Court directthe United States to prepare and provide a

    specificanddetailedReceiptforProperty.SeeFed.R.Crim.P.41(9.ThelilkeceiptForProperty''
    provided to M ovanton August8,2022 isso vague and lacking in specifcity thatthereaderdoes

    notknow whatw asseized from M ovant'shom e.

                            Seized Docum entsReflecting Presidential
                   Com m ungcationsW ith AdvisorsA re Presum ptivelv Privileeed

           The docum ents seized at M ar-a-Lago on August 8,2022, were seized from President

    Trllm p and w ere created during his term ms President. A ccordingly, the docllm ents are

    GGpresllm ptively privileged''tmtilproven otherwise.Nixon,4l8 U .S.at782.Only an evaluation by

    a neutralreview er,a SpecialM mster,can securethe sanctity oftheseprivileged materials.

           Asageneralm atter,the likelihood thattheGovernm entseized privileged m aterialsuggests

    the need for a carefulreview process.Forexam ple,while there hmsneverbeen a search wan'ant

    executed atthe hom e of a President of the United States,federal regulations acknowledge the

    delicatenatureofreviewingalltypesofprivilegedmaterial.Under28C.F.R.j59.4(b)(2),federal
    officers m ay seek to search for and seize docllm ents from certain classes of professionals-

    including lawyers- orlly aftersecuring therecom m endation oftheU.S.Attom ey andtheapproval

    of a Deputy AssistantAttom ey General.The m essage ofthatgtzideline is clear- the utm ostcare

    m ustbetaken in theseiztzreofpotentially privileged m aterials.

           The presentm atlertmdoubtedly involves such m aterials.During the Clinton presidency,

    this issue of privilege- specifically,thepresumption of privilege- was raised in response to a

    grandjurysubpoenadirectedtoW hiteHousecounsel.SeeInreGrandluryProc.,5F.Supp.2d
    21(D.D.C.),ay '
                  dsubnom.In?':Ltndsey,148F.3d 1100(D.C.Cir.1998),andJ-J/'
                                                                         1inpart,rev'd
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    inpartsubnom.InreLindsey,158F.3d1263(D.C.Cir.1998).W hilethecontextdiffersfrom the
    presentcase,thecourt'sanalysisofthenatureoftheevidencesoughtbythegrandjuryinthatcase
    applieswith equalstrength here.There,theU .S.DistrictCourtfortheDistrictofColum biaadhered

    to the Supreme Court's holding pertaining to evidence sopght(orseized)from a President:
    EElm henthePresidentoftheUnitedStatesassertsaclaim ofexecutiveprivilege,thedistrictcourt
    hasaIdutyto...treatthesubpoenaedmaterialmspèesumpttvelyprivileged.'''1d.at25(quoting
    Nixon,418U.S.at713).Furthermore,i:
                                     ilatthetimethedocumentsormaterialswerecreated,they
    içreflectpresidential decision-m aking and deliberations,''they are presllm ptively privileged.1d.

    (quotingInreSealed Case,121F.3d729,744(D.C.Cir.1997)),
                                                         .seealsoDellumsv.Powell,561
    F.2d 242,246 (D.C.Cir.1977)CThe Epresdlmptive'privilegerforexecutivecommunicationsl
    embpdiesasjrongpresllmption,atldnotmerelyalip-servicereference.').
           W ith the concltlsion that the m aterials seized from the M ovant are a1l presllm ptively

    privileged,itis tmrea onable to allow the prosecutorialtenm to review them withoutm eaningful

    safeguards.Shortof rem rning the seized '
                                            item s to M ovant,only a neutral review by a Special

    M astercan protectthe Gûigreatpublic interest'in preserving tthe confidentiality ofconversations

    thattake place in the President's performance oflzis om cialduties'because such confidentiality

    isnecessary to protectlthe eFectivenessofthe executive decision-m aking process.'''In re Grand

    JuryProc.,5F.Supp.24 at25(citingNixonv.Sirica,487F.2d700,717(D.C.Cir.1973),
                                                                              .Inre
    SealedCase,12lF.3dat742).
                   A DO J FilterTeam W illNotProtectPresidentTrum pgsRiehts

           TheGovemmenthasadvisedcotmselforPresidentTrllmpthatitisu'tilizinglawyerswithin

    D OJ'sN SD as a GGliltertenm .''ln certain instances,a flterprotocolcan serve an im portantrole

    w here theD epartmentofJustice seizes docum entsthatare likely to be privileged.Asthe Justice



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    Manualnotes,afiltertenm (alsocalledaEEprivilegetenm''orLç
                                                            taintteam'')canbeused forthe
    G'lim ited review ofarguably privileged m aterialto ascertain whetherthem aterialiscovered by the

    w arrant''and to protectthe disclostlre of privileged com m llnications.U.S.D ep'tofJust,Justice '

    M anlkalj9-13.420,atjE.However,ratherthanrelyingonthepresentûlterprotocol,thisCourt
    should appointaSpecialM asterfora variety ofre% ons.

           'l'heim plementation ofthisflterprotocolwasprocedtlrally defcient.The Eleventh Circuit

    haswritten,G:(cg
                   .
                   d
                    xparte communicationsgenerally aredisfavored becausethey'conflictw1t11a
    ftmdsmentalpreceptofoursystem ofjustice:afairhean'ngErequiresareasonableopporttmityto
    know the claim softheopposing party andto m eetthem .'''fn re Colony Square Co.,8l9F.2d 272,

    276n.12(11thCir.1987)(quotingInreParadyneCorp.,803F.2d604,612(111 Cir.1986)).In
    InreSearch WarrantIssuedJune13,2019,942 F.3d 159,178-79(4th Cir.2019)(GGBaltimore
    f.tzw Firm'à,theFourthCircuitspecifcallypotedtheproblem ofsettingflterprotocolsexparte,
    in reversing a districtcourtdecision denying a restraining orderon the review ofseized m aterial.

    Among otherissues,theBaltimoref.
                                   tzw Firm courtreversed àecattsethemagistratejudgehad
    approved a filter protocolw ithoutconducting appropriate adversarialproceedings,which w ould

    have allowed the defense to advocate forpropersafeguards.Id G'In such contested proceedings,

    thejudgecouldhavebeenfully informedoftherelevantbackgroundonthe(defendant),mswell
    as the nature ofthe seized m aterials.''16L W ithoutthe affdavit,the defense doesnotlœ ow what

    disclostlresw erem ade to the m agistrate in supportofitsfilterplan.

           Here,too,themagistratejudgeapprovedtheflterprotocolwithoutinputfrom thedefense.
    'rhe resultisaprotocolthatisplainly ineffective- itsim ply doesnotensurethatprosecution tenm

    m emberswillnotaccess orbecom e aware ofpiivileged m aterials particularly asth: filtertenm 's

    leaderis adeputy tothe lead prosecutorin thism atler.
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            Fundam entalFairnessR equiresThatThisCourtAppointA SpecialM aster

           Courtsconsidering analogousissueshaveappointed SpecialM asters,w 1t11onecourtnoting

    thevalue ofa SpecialM % terin com parison with a filterteam .ln particular,thisCourtand others

    have % sessed the use of SpecialM asters follow ing the execution ofsearch warrantsatattom eys'

    offices- contexts involving sim ilar m atters pf privilege with far less historic importance.For

    example,in Unitedstatesv.Stewart,No.02-cr-395,2002W L 1300059(S.D.N.Y.Jtmel1,2002),
    theU .S.DistrictCourtforthe Southem DistrictofN ew Y ork weighed an attorney'srequestfora

    SpecialM aste
                'r afterthe G overnm enthad searched heroffce pursuantto a warrant.A ccordingly,

    thatcourtconsidered thenarrow question ofwhetherseized m aterialshould bereviewedby aflter

    tenm orby a SpecialM mster.The courtappointed a SpecialM mster,highlighting certain concerns

    inherent to m any filter prötocols- including the one presently in place- and the benefits of

    appointing aSpecialM aster.Stewart,2002 W L 1300059,at*7-8.The courtalso cited three other

    courp thathad allowed filterteamsto review seized materialsand lateropined Rthatthe use of
    other m ethods of review w ould have been betten''1d. at *6.For example,in United States v.

    Hunter,13F.Supp.2d574,583& n.2(D.Vt.1998),thecourtnoted,withthebenefitofhindsight,
    that:Etliltmay havebeen preferableforthescreening ofpotrntially privilegedrecordstobeleft
    nottoa(ûlterteam)buttoaspecialmasterormagistratejudge.''
           Ultim ately,theStewartcourtappointed a SpecialM aster- w ith the authority to determine

    responsiveness,privilege issues,and w hether any valid exceptions to the privilege exist- on

    faim ess grotmds.Id.at*8-10.In appointing a SpecialM aster,the courtnoted the im portance of

    establishing aprocedurethatwasGGnotonly ...fairbutalso appearled)tobefair,''addingthat
    tGrtlheappearance offaimesshelpsto protectthe public'séonfdencein theadministTation of
    jtlsticeandthewillingnessofclientstoconsultwith theirattorrleys.''1d.at*8.SeealsoIn the


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    Matterofsearch WarrantsExecutedonApril9,2018,No.l8-MJ-3161(S.D.N.Y.),Dkt.38at8,
    Dkt 104at88(similarlyappointingaSpecialM atertoreview docllmentsseizedfrom attorney's
    offceinlightofb0thfaimessandtheperceptionoffaimessl;Unitedstatesv.Abbell,9l4F.Supp.
    519,519(S.D.Fla.1995)(findingthatKGtheresponsivenessandprivilegeissuesraised''following
    the seizure ofmateriks from a law firm GEare exceptionaland wazrantreferralto a Special
    M RS
       'ter.'').''
           A s a general m atter, given the circllm stances here, a taint tenm is insllm cient. ET he

    appearance ofJtkstice m ustbe served,as wellasthe interests ofJustice.Itisa greatleap offaith

    to expectthatm embers ofthe generalpublicw ould believe thatany such Chinese wallw ould be

    impenetrable;thisnotwithstmldingthehonorofan (AssistantUnited StatesAttomeyl.''Stewart,
    2002W L 1300059,at*8 (citingInreSearch WarrantforZlw OfhcesExecutedonM arch 19,
    1992,153F.R.D.55,59(S.D.N.Y 1994:.
           This m atter has captured the attention of the Am erican public. M erely Kiadequate''
    safeguards are notacceptable when the m atter a
                                                  'thand involvesnotonly the ccmstitutionalrights

    of PresidentTrum p, but also the preservation of executive privilege.M ovant submits that the

    appointm entof a SpecialM asteristhe only appropriate action and,foritto'
                                                                            have any m eaning at
    al1, a protective order should issue ordering the United States to cease review of the seized

    m aterialsim m ediately.

           C.        The G overnm entM ustProvide An Inform ativeReceiptForPropertv.

           Rule41(9 oftheFederalRulesofCriminalProcedurerequiresthat1aw enforcementleave
    a G:lkeceiptfor Property''with the person from whom the item s w ere seized,oratthelocation of

    thesearch.Fed.R.Crim.P.41(9(1)(C).And,Rule41(9(B)states,G'lnventory..
                                                                        Anom cerpresent
    during the execution ofthew arrantm ustprepareand verify an ihventory ofapy property seized.''



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    'rheruledoesnotjtkstdictatecreating an inventory butrequiresthatitbeftverifiedr''aterm that
    suggests som e assessm entofthecontentsofthe receipt.Therule furtherrequiresthatthe Giofficer

    executing the warrant ... prom ptly retum it- together with a copy of the inventory- to the

    magistratejudgedesignatedonthewarrant''Fed.R.Crim.P.41(f)(1)(D).Onrequest,thejudge
    m ustççgive acopy oftheinventory totheperson from whorq orfrom whoseprem ises,the property

    wastakenl.l''1d.
           Attachedhereto asExhibitl arethethreepagesofEGRecçiptforProperty''lef4by theagents

    following the sem'
                     ch ofthe form er President's hom e on A ugust 8,2022.'
                                                                          Fhe GEReceipt''lists 45

    entries describing itemq as a EEBox labeled (mlmberl''orGçBinder ofPhotos,''in addition to
    documentsthatarevariously identified asmarked Secret,Top SecretorConfidential.Combined
    with asealed Search W an'antAm davit,thisEGlR.
                                                 eceipt''doeslitlleto identify the m aterialsthatwere

    seized from President Trtlm p's hom e. This level of detail does not m eet the standard of
    I'
     verification''requiredinRule41(9.
           An inventory ofproperty seized is m inisterial.United States v.Robiytson,N o.08-60179-

    CR,2008W L 5381824,at*9-10(S.D.Fla.Dec.19,2008).However,itisamatteroffundnmental
    fairnessthatthe agents atleastidentify from whatlocations each box ofdocum ents was seized;

    whetherthese boxes w ere atthe location or were boxes thatthe agents broughtw ith them and

    Glled;whetherotheritem sw ere contained in those boxes;whetherconfidentiallabelswere b% ed

    upon labelsim printed on thedocllm entsthem selves,and whetherthereturn labelwastheresultof

    areview (ofpresllmptivelyprivilegedexecutivecommtmications)tomakethatdetermination.
           M ovant submits the current Receipt for Property is legally deficient.Accordingly,the

    G ovem m entshould berequired to provide a m ore detailed and inform ativeReceiptForProperty,

    which statesexactly whatwasseized,and where itw aslocated when seized.In addition,M ovant



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        requeststhatthe Courtprovide him w ith a copy ofthe inventoly.This,along w1t11inspection of

        the fullAffidavit,isthe only way to ensure the Presidentcan properly evaluate and availhim self

        oftheimportantprotectionsofRule41.
        lV.    C ON CLUSION

               Forthe foregoing re% ons,PresidentD onald J.Trum p respectfully requeststhattllisCourt
                                                            l
        issueanorderthat:(a)appointsaSpecialMaster;(b)enjoinsfurtherreview ofseizedmaterialsby
        theGovemmenttmtilaSpecialMasterisappointed;(c)requirestheGovernmenttoprovideamore
        detailedReceiptForProperty;and(d)reqtlirestheGovernmentto remm any item seizedthatwas
        notwithin the scope ofthe Search W arrant.

        Dated:August22,2022                          Respectfully subm itted,

                                                      /s/Lindsev H alliaatl
                                                     Lindsey H alligan
                                                     FloridaBarN o.109481
                                                     511 SE 5th Avenue
                                                     FortLauderdale,FL 33301
                                                     Emnil:lindseyhalligano@gmail.com
                                                      /s/Jam esM .Tnzsty
                                                     Jam esM .Trusty
                                                     Ifrah Law PLLC
                                                     1717 Pennsylvania Ave.N .W .Suite 650
                                                     W ashington,D C 20006
                                                     Telephone:(202)524-4176
                                                     Email:jtrusty@ifrahlaw.com
                                                     (
                                                     proJlccvicesledcontemporaneously)
                                                      lsIM .Evan Corcoran
                                                     M .Evan Corcoran
i                                                    SILVEU M IY OMPSONISLUTG I
                                                                              M ITE,LLC
                                                     400 EastPrattStreet- Suit: p()()
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                                                     Telephone:(410)385-2225
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                                 CER TIFICATE OF SERW CE

          l HEREBY CERTIFY that on this 22nd day of A ugust 2022,a copy of the foregoing

    M otion ForJudicialOversightAnd AdditionalReliefw asserved via electronic mailon counsel

    forthe Governm ent,assetforth below .

                                                 /s/Lindsev Halliaan
                                                Lindsey H alligan


           Served on:   Juan M tonio Gonzalez
                        UNITED STATES ATTORN W
                        FloridaBarN o.897388
                        99 NE 4t11Street,8th Floor
                        M inm i,Fl33132
                        Telephone:(305)961-9001
                        Email:jur .rtoio.gonziez@usdoj.gov
                        Jay 1.Bratt
                        Chief
                        Cotm terintelligence and ExportControlSection
                        N ationalSecurity Division
                        950 Pennsylvania Avenue,N W
                        W ashington,D.C.20530
                        IllinoisBarN o.6187361
                        (202)233-0986
                        jay.brattz@lzsdoj.gov




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          Fm59;(D-%4-4:4:$6)                                                                                                      Page 1of1
                                        MNIYED STATESDEPARTM ENT OFIUSTICE
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 FD.
   .
   S97(RBv.4-$3-2010                                                                    Page 1of2
                               UNITED 5TATE5 DEPARTM ENT O FJUSTICE
                                     FEDERALBUREAU OF INVEW IGATION

                            R EC E IP T F9 R P R O P ER T Y
 Case ID:        WF
               On(date) 8/8/2022                  itemls)listedbelow were:
                                                  W Colleœ d/elzed
                                                  Q ReceivedFrom
                                                  D ReœmedTo
                                                  D ReleasedTo

 (Name) Mar-A-tago                                         .
 (StreetAddress) 1100SOCEAN BLVD
 (ciw) FAI.
          M BM cH,FL33480

 Desçripti/n@fltemts):
 1-ExecutiveGrantofClemencyre:RogerJason Stone,Jr.
 1A -Info re:Pro identofFrance
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 2 -O atherb.ound boxdfz
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 9-BoxIabeled A-12
 10-Box Labeled A-15
 10A -M.
       i#çl,llanqou,SqcretDoqument:
 11-BoxLabeled A-16
 11A -MiscellanousTopsetretDocuments
 12 -Boxlabeled A-17
 13-BoxlabeledA-18
 13A -M iscell#neousTopsecreyDocuments
     14-B(p Ipb@led A-27
            .,


 14-A-MlscellaneousEpnfidqntlalDocuments
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                              UNITED STATES DEPARTM ENT O FIUSTICE
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                         RECEIPT F@ R éRO PERTX
 15-BoxtabeledA-28                                                   .
 15A -MigcellaneousSecretDocuments
 16-BozIabeled A-30
 17 -BoxIabeledA-32
 1:-BoxIabeled A-35
 19-BoxIabeled4-23                                                                 ,
 19A -ConfidentialDocum ent                    ,
 20-BoxLabeled A-22
 21-Boxlabeled A-24                                        l
 22-BoxLabeled A-34
 23-BoxLabeled A-39
 23A -M iscellaneousSecretDocuments
 24 -BoxIabeled A-40               '
 25 -BozLabeledA-41
 25A -MlscellaneousConfldentialDocuments
 26-BoxLabeled A-42
 26A -QiscellaneousTopSecretDocuments                                                    '
 27-Box LabeledA-71
 28 -Box Labeled4-73
 28A -MiscellaneousTop ecretDocuments


  Reeeîve By:                                   Reeelved From :
                          (signature)                                ' signature


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    In the M atterofthe Search of

    M ar-a-taago
    1100 S.Ocean Blvd.
    Palm Beach,FL 33480


                          CER TIFICA TION OF M .EVAN COR CO M N

           M .EvanCorcoran,Esqtlire,pursuanttoRule4(b)oftheRtllesGoverningtheAdmission,
    Practice,PeerReview,andDisciplineofAttorneys,hereby certifiesthat:(1)1havesttzdiedthe
    LocalRulesoftheUnitedStatesDistrictCourtforthegouthern DistrictofFlorida; (2)lam a
    m em berin good standing oftheBarofthe DistrictofColllm biw the United States DistrictCourt

    fortheDistrictofM aryland,theUnited StatesDistrictCourtforthé DistrictofColum biw andthe

    UnitedStatesDistrictCourtfortheEastem DistrictofVirginia;and(3)1havenotfiledthreeor
    m ore m otionsforpro hac vice adm ission in tlzisDistzictwithin thelast365 days.

                                                              /s/M Evan Corcoran
                                                              M .Evan Corcoran
